Case 5:21-cr-50014-TLB Document 112            Filed 12/07/21 Page 1 of 2 PageID #: 1701




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

        ATTORNEYS:           Carly Marshall        William Clayman
                             Dustin Roberts

V.                            CASE NO. 5:21-CR-50014-001

JOSHUA JAMES DUGGAR                                                             DEFENDANT

        ATTORNEYS:           Justin Gelfand        Ian Murphy
                             Travis Story

JUDGE: TIMOTHY L. BROOKS                                           REPORTER: PAULA BARDEN

                                                               COURT CLERK: SHERI CRAIG

                                       MINUTES
                             CRIMINAL JURY TRIAL (DAY SIX)
                                   December 7, 2021

 TIME       MINUTES
 8:37 am    Court Convenes with Jury
            Testimony resumes on Behalf of the Defendant:
                    DW#1 - Michele Bush - Computer Forensic Expert (continued)
 12:11 pm   Lunch
 1:24 pm    Reconvene
                    DW#1 - Michele Bush - Computer Forensic Expert (continued)
                    DW#2 - Daniel Wilcox - Former HSI Task Force Officer
            Defendant advised of his rights regarding testifying
            Defense rests
            Rebuttal Testimony on Behalf of the Goverment:
                    RW#1 - James Fottrell - DOJ - Director of HTIU (recalled)
                            CX#4 - Ubuntu Installation Screen Prints (GX#86 - Demonstrative
                            Exhibit)
Case 5:21-cr-50014-TLB Document 112              Filed 12/07/21 Page 2 of 2 PageID #: 1702




                         CX#5 - Snap Store - uTorrent Installation/Download Screen Prints
                         (GX#87 - Demonstrative Exhibit)
           Recess Instruction read to the Jury
           Jury Released until 9:00 am tomorrow
           CX#6 - Stipulation of the Parties (re DX#8-a and DX#9-a) read by the Court to
           the Jury
           Defendant renews Rule 29 Motion - Denied by the Court for the reasons stated
           previously
           Jury Instruction Conference
                  CX#7-A - Jury Instructions - Discussion Draft - 12/6/21
                  CX#7-B - Email to Counsel from Court - 12/6/21
                  CX#7-C - Supplemental Email to Counsel from Court - 12/6/21
                  CX#7-D - Email from Counsel - 12/7/21
                  CX#8-A - Jury Instructions - Discussion Draft - 12/7/21
                  CX#8-B - Jury Instructions - Discussion Draft (tracking changes) - 12/7/21
                  CX#9-A - Defendant’s Proffered Instruction No. 5
                  CX#9-B - Defendant’s Proffered Instruction No. 6
                  CX#9-C - Defendant’s Proffered Instruction No. 7
                  CX#9-D - Defendant’s Proffered Instruction No. 8
                  CX#9-E - Defendant’s Proffered Instruction No. 9
 6:47 pm   Court Adjourned




                                             2
